                                                                             CLERK'S OFFICE U.S. OIST. COUR
                                                                                    AT ROANOKE, VA
                     IN THE UNITED STATES DISTRICT COURT                                 FILED
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION

LEON POLK, et al.,                             )
         Plaintiffs,                           )
                                               ) Civil Action No. 3:16-cv-00017
v.                                             )
                                               )    ORDER
ANDREW HOLMES, et al.,                         )
        Defendants.                            ) By: Hon. Glen E. Conrad
                                               )       Senior United States District Judge



       Finding good cause, it is now, it is now

                                       ORDERED

that this matter be TRANSFERRED to the docket of the Honorable Norman K. Moon,

Senior United States District Judge, for all further action. The Clerk is directed to

certify copies of this Order to all parties.

       ENTER: This~& day of ~~,,~                 '2018.




                                           Senior United States District Judge




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